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                                                             DuCli,~tL\T
 UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK                               EtECTl\O:\!C:\LLY FILED
  -----------------------------------x                      ; DOC#:
  DANIEL McINTIRE,
                                                            ll,~xrE_::~i         _·.
                             Plaintiff,

             against

  CHINA MEDIAEXPRESS HOLDINGS,                                11-cv-0804 (VM)
  INC., et al.,
                                                              ORDER
                             Defendants.
  -----------------------------------x
  IN RE CHINA MEDIAEXPRESS HOLDINGS,
  INC. SHAREHOLDER LITIGATION

  -----------------------------------x
  VICTOR MARRERO, United States District Judge.

       By     letter     dated    August          18,      2014,       Lead     Plaintiffs

  Irrevocable        Trust     FBO     Lansing          Davis          and     the     Davis

  Partnership LP (collectively,                  "Plaintiffs")          requested leave

  to file a motion for appointment of Karl Barth of Hagens

  Berman     Sobol     Shapiro,       LLP,       counsel      for       Plaintiffs,         as

  receiver    for     the    assets     of       defendant      China         MediaExpress

  Holdings,    Inc.    ( "CCME") .      (Dkt. No. 224.)            1   By letter dated

  August 22, 2014, defendant Deloitte Touche Tohmatsu in Hong

  Kong SAR ( "DTT HK")        indicated that it would not oppose the

  filing of the motion,           but reserved the right to object to

  the scope of the receiver's authority.                       (Dkt. No. 226.)              By

  letter dated August 22,             2014,       Star Investments Cayman II,

  1 The Court previously entered a               default    judgment     against     CCME   on
  January 17, 2014. (Dkt. No. 193.)

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 Inc.     ("Starr Investments")                     the plaintiff in a separate

 action against CCME,               see Starr Investments Cayman II,                      Inc.

 v.    China MediaExpress Holdings,                   Inc.,    et al.,        No.    11-233-

 RGA     (D.   Del.)           objected to Plaintiffs'                request.            (Dkt.

 No.     225.)         By    letter    dated August           25,    2014,     Plaintiffs

 responded        to    Starr       Investments'        objections.             (Dkt.      No.

 228.)

         The Court deems Plaintiffs' August 18 letter to be a

 motion for appointment of a receiver.                             Upon review of the

 filings         in    this    matter,        the     Court     is     persuaded          that

 appointment            of      Plaintiffs'            proposed            receiver          is

 appropriate.           The Court also adopts the limitation on the

 receiver's authority proposed by Plaintiffs in their August

 25 letter,           which permits the receiver only to marshal the

 assets of CCME, and not to allocate those assets among any

 of CCME's creditors.               The Court is not persuaded that Starr

 Investments,          which as of now does not have a judgment for

 damages         against      CCME,     has        standing     to     object        to     the

 appointment of a receiver.                   The Court is also not persuaded

 that     appointment          of     class    counsel        as     the      receiver       is

 inappropriate              under     N.Y.         C.P.L.R.         5228(a)         and     the

 applicable legal standards.




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      Therefore, it is hereby

      ORDERED       that   Karl   Barth   of   Hagens    Berman    Sobol

 Shapiro,    LLP,   is appointed as receiver for         the assets of

 defendant    China MediaExpress     Holdings,    Inc.   ( "CCME") ,   for

 the limited purpose of marshaling CCME's assets.



 SO ORDERED.
 Dated:    New York, New York
           26 August 2014




                                          z:   ~~ .
                                                 Victor Marrero
                                                    U.S.D.J.




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